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                                                                               EXHIBIT A

                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE


BRENDA A. GOWESKY,                                     )
                                                       )
                        Plaintiff,                     )
                                                       )
v.                                                     )
                                                       )      Docket No. ________________
STATE OF MAINE, MAINE BOARD OF                         )
LICENSURE IN MEDICINE and                              )
DENNIS E. SMITH,                                       )
                                                       )
                        Defendants.                    )


     DECLARATION OF ASSISTANT ATTORNEY GENERAL KELLY L. MORRELL
                  IN SUPPORT OF NOTICE OF REMOVAL

         Exhibits 1 through 7 of this Declaration are true copies of all documents filed in the

Kennebec County Superior Court in the case of Brenda A. Gowesky v. State of Maine, Board of

Licensure in Medicine, et al., CV-23-35. They consist of the following:

         EXHIBIT 1 Docket Record
         EXHIBIT 2 Letter dated March 2, 2023, from David G. Webbert to Kennebec County
                   Superior Court
         EXHIBIT 3 Summary Sheet
         EXHIBIT 4 Civil Rights Complaint for Unlawful Retaliation Based on Activities
                   Protected by State and Federal Employment Rights Laws
         EXHIBIT 5 Letter dated May 30, 2023, from Kelly L. Morrell to Kennebec County
                   Superior Court
         EXHIBIT 6 Acknowledgment of Receipt of Summons and Complaint or Post
                   Judgment Motion, signed by Kelly L. Morrell on behalf of State of Maine,
                   Board of Licensure in Medicine, on May 30, 2023
         EXHIBIT 7 Acknowledgment of Receipt of Summons and Complaint or Post
                   Judgment Motion, signed by Kelly L. Morrell on behalf of Dennis Smith,
                   on May 30, 2023
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                     DECLARATION PURSUANT TO 28 U.S.C. § 1746

       In accordance with 28 U.S.C. § 1746, Assistant Attorney General Kelly L. Morrell
declares under penalty of perjury that the representations made in the Declaration are true.


DATED: June 2, 2023

                                                     AARON M. FREY
                                                     Attorney General


                                             By:     /s/ Kelly L. Morrell
                                                     KELLY L. MORRELL
                                                     Assistant Attorney General
                                                     kelly.l.morrell@maine.gov




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